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                               EXHIBIT 1
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  FORM 1.997. CIVIL COVER SHEET

  The civil cover sheet and the information contained in it neither replace nor supplement the filing and service of
  pleadings or other documents as required by law. This form must be filed by the plaintiff or petitioner with the
  Clerk of Court for the purpose of reporting data pursuant to section 25.075, Florida Statutes. (See instructions
  for completion.)


       I.           CASE STYLE
                                         IN THE CIRCUIT COURT OF THE SIXTEENTH JUDICIAL CIRCUIT,
                                             IN AND FOR MONROE COUNTY, FLORIDA

                                                                          Case No.: _________________
                                                                          Judge: ____________________
  MACE MARINE INC.
   Plaintiff
                   vs.
  TOKIO MARINE SPECIALTY INSURANCE COMPANY
  Defendant



       II.          AMOUNT OF CLAIM
                    Please indicate the estimated amount of the claim rounded to the nearest dollar $50,000

       III.         TYPE OF CASE        (If the case fits more than one type of case, select the most definitive category.) If the
                    most descriptive label is a subcategory (is indented under a broader category), place an x on both the main
                    category and subcategory lines.

                                                                                  ☐     Malpractice – other professional
               ☐ Condominium                                                    ☒ Other
               ☐ Contracts and indebtedness                                       ☐     Antitrust/Trade Regulation
               ☐ Eminent domain                                                   ☐     Business Transaction
               ☐ Auto negligence                                                  ☐     Circuit Civil - Not Applicable
               ☐ Negligence – other                                               ☐     Constitutional challenge-statute or ordinance
                 ☐    Business governance                                         ☐     Constitutional challenge-proposed amendment
                 ☐    Business torts                                              ☐     Corporate Trusts
                 ☐    Environmental/Toxic tort                                    ☐     Discrimination-employment or other
                 ☐    Third party indemnification                                 ☒     Insurance claims
                 ☐    Construction defect                                         ☐     Intellectual property
                 ☐    Mass tort                                                   ☐     Libel/Slander
                 ☐    Negligent security                                          ☐     Shareholder derivative action
                 ☐    Nursing home negligence                                     ☐     Securities litigation
                 ☐    Premises liability – commercial                             ☐     Trade secrets
                 ☐    Premises liability – residential                            ☐     Trust litigation
               ☐ Products liability
               ☐ Real Property/Mortgage foreclosure                             ☐ County Civil
                 ☐    Commercial foreclosure                                     ☐     Small Claims up to $8,000
                 ☐    Homestead residential foreclosure                          ☐     Civil
                 ☐    Non-homestead residential foreclosure                      ☐     Replevins
                 ☐    Other real property actions                                ☐     Evictions
               ☐ Professional malpractice                                        ☐     Other civil (non-monetary)
                 ☐    Malpractice – business
                 ☐    Malpractice – medical




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                                                   COMPLEX BUSINESS COURT

            This action is appropriate for assignment to Complex Business Court as delineated and mandated by the
            Administrative Order. Yes ☐ No ☒


    IV.        REMEDIES SOUGHT (check all that apply):
               ☒ Monetary;
               ☒ Non-monetary declaratory or injunctive relief;
               ☐ Punitive

    V.         NUMBER OF CAUSES OF ACTION:
                 (Specify)


               3

    VI.        IS THIS CASE A CLASS ACTION LAWSUIT?
                ☐ Yes
                ☒ No

    VII.       HAS NOTICE OF ANY KNOWN RELATED CASE BEEN FILED?
               ☒ No
               ☐ Yes – If “yes” list all related cases by name, case number and court:




    VIII.      IS JURY TRIAL DEMANDED IN COMPLAINT?
                ☒ Yes
                ☐ No



I CERTIFY that the information I have provided in this cover sheet is accurate to the best of my knowledge and belief, and
that I have read and will comply with the requirements of Florida Rule of Judicial Administration 2.425.

Signature:      s/ Eric Fischer
          Attorney or party
FL Bar No.: 962422
          (Bar number, if attorney)
                Eric Fischer
               (Type or print name)
     Date:      04/06/2020




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                                                              IN THE CIRCUIT COURT OF THE
                                                              16TH JUDICIAL CIRCUIT IN AND
                                                              FOR MONROE COUNTY, FLORIDA

            MACE MARINE INC., d/b/a Conch
            Republic Divers,
                                                              Case No.
                                   Plaintiff,

            v.
            TOKIO    MARINE    SPECIALTY
            INSURANCE COMPANY,

                                   Defendant.

                                      SUMMONS IN A CIVIL ACTION

           THE STATE OF FLORIDA:
           To Each Sheriff of the State
                   YOU ARE HEREBY commanded to serve this summons and a copy of the
           complaint in this action upon Defendant:
                           TOKIO MARINE SPECIALTY INSURANCE COMPANY
                           c/o Florida Chief Financial Officer as RA
                           Service of Process Section
                           PO Box 6200
                           Tallahassee, FL 32314-6200
           Defendant is required to serve written defenses to the complaint on Plaintiffs’ attorney, to
           wit:            Matthew D. Landau (Fla. Bar. No. 445967)
                           THE LANDAU LAW GROUP, P.A.
                           1200 North Federal Highway, Ste. 200
                           Boca Raton, FL 33432
                           Phone: (954) 964-0900
                           matt@thelandaulawgroup.com
           within 20 days after the date of service of this process on Defendant, exclusive of the day
           of service, and to file the original of the defenses with the Clerk of this Court either
           before service on Plaintiffs’ attorney or immediately thereafter. If a Defendant fails to do
           so, a default will be entered against that Defendant for the relief demanded in the
           complaint or petition.

           DATED: ____________
                                                         Clerk of the Court


                                                         ________________(Court Seal)
                                                         By Deputy Clerk:




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                                                              IN THE CIRCUIT COURT OF THE
                                                              16TH JUDICIAL CIRCUIT IN AND
                                                              FOR MONROE COUNTY, FLORIDA


            MACE MARINE INC., d/b/a Conch
            Republic Divers,                                  Case No.

                                   Plaintiff,

            v.
            TOKIO    MARINE     SPECIALTY                     JURY TRIAL DEMANDED
            INSURANCE COMPANY
                          Defendant.



                                                 COMPLAINT

                  Plaintiff, MACE MARINE INC., by and through undersigned counsel, submit this

           Complaint    against   Defendant,    TOKIO      MARINE        SPECIALTY      INSURANCE

           COMPANY. As its Complaint, Plaintiff asserts and alleges as follows:

                                                  Introduction

                  1.      This action arises from the denial of commercial insurance benefits.

           Plaintiff owns and operates a dive shop business located at 90800 Overseas Highway #9,

           in Tavernier, Monroe County, Florida. Plaintiff purchased and Defendant issued a

           commercial lines insurance policy numbered PPK1992912 (the “Policy”) containing

           coverage for, amongst other things, business income, extra expense, ingress/egress and

           civil authority. A complete copy of the Policy is within Defendant’s possession.

                  2.      In late 2019 and early 2020, an outbreak of respiratory illness caused by a

           novel coronavirus n/k/a COVID-19 started to infect humans across the globe. On March

           11, 2020, the World Health Organization (“WHO”) declared the COVID-19 outbreak a

           pandemic (i.e. a global outbreak of disease).




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             3.      Throughout the month of March 2020, governments around the world,

     including the U.S. Government, State of Florida and Monroe County began ordering the

     shutdown of non-essential businesses and ordering citizens to stay at home in order to slow

     the spread of COVID-19 and reduce the health and economic impact of the pandemic.

             4.      After Plaintiff ceased operations and shut its business by order of the State

     of Florida and Monroe County, it made a claim with Defendant under the Policy’s business

     income coverage (the “Claim”). Defendant acknowledged the Claim, assigned it claim

     number 1358908, and subsequently denied the Claim by letter dated March 30, 2020. A

     copy of the denial letter is attached hereto as Exhibit “A”.

             5.      Plaintiff therefore brings this action to obtain the benefits due under the

     Policy and to seek a declaratory judgment on relevant provisions of the Policy on which

     the parties are relying.

                                       Parties and Jurisdiction

             6.      Plaintiff is a Florida entity with its principal place of business in this

     County.

             7.      Defendant is an insurance company with its principal place of business in

     the State of Pennsylvania. Defendant has engaged in business in this County by issuing

     insurance policies and adjusting claims.

             8.      The amount at issue in this case is in excess of $30,000.00, exclusive of

     interest, attorneys’ fees and costs.

             9.      Venue is proper in this Circuit because the conduct at issue occurred in this

     County and Defendant is present in this Circuit through its business activities.




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                                          Factual Allegations

            10.       On March 1, 2020, Florida Governor Ron Desantis issued Executive Order

     Number 20-51, directing the State Health Officer and Surgeon General to declare a Public

     Health Emergency due to the discovery of COVID-19 in Florida.

            11.       On March 13, 2020, Monroe County Administrator Roman Gastesi stated

     in a letter regarding the impact of COVID-19 that the County is “increasing the frequency

     of cleaning high-touch surfaces”.

            12.       On March 19, 2020, citing concerns for increasing danger to the Florida

     Keys from COVID-19, Monroe County officials announced it will close hotels, guest

     houses, short-term rentals in RV parks and vacation rentals beginning at 6 p.m. March 22.

            13.       The pandemic has led to a restriction on international and domestic travel

     and closed borders.

            14.       Monroe County and the Florida Keys are a popular destination for tourists

     and scuba diving enthusiasts attracting millions of visitors per year from around the country

     and around the world.

            15.       On March 20, 2020, in an effort to limit the spread of and avoid infection

     from the disease, Monroe County issued Emergency Directive 20-02, which closed Monroe

     County to tourists and leisure visitors.

            16.       The restriction on travel into and within Monroe County prevented the

     ingress to the insured property by customers on which Plaintiff relies for business income.

            17.       Plaintiff’s business of operating a dive shop is not deemed an essential

     service.




                                                    3

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            18.     On March 30, 2020, Florida Governor Ron DeSantis issued Executive

     Order Number 20-89 which ordered Monroe County to restrict public access to businesses

     and facilities deemed non-essential.

            19.     On April 1, 2020, Florida Governor Ron DeSantis issued Executive Order

     Number 20-91 which ordered that all persons in Florida shall limit their movements and

     personal interactions outside of their home to only those necessary to obtain or provide

     essential services or conduct essential services. Said order is set to expire on April 30, 2020

     unless extended by subsequent order.

            20.     The Policy contains coverage for acts of civil authority.

            21.     Civil authority actions precluded Plaintiff from operating its business.

            22.     Per the Centers for Disease Control and Prevention (“CDC”), there is no

     vaccine to protect against COVID-19 and no medications approved to treat it.

            23.     It may take up to 14 days for an infected person to have symptoms.

            24.     A large percentage of persons who tested positive for COVID-19 showed

     no symptoms prior to testing. In fact, the director of the CDC, Dr. Robert Redfield, stated

     that “we have pretty much confirmed [now is] that a significant number of individuals that

     are infected actually remain asymptomatic. That may be as many as 25%. That's important,

     because now you have individuals that may not have any symptoms that can contribute to

     transmission, and we have learned that in fact they do contribute to transmission”.

            25.     The WHO states that COVID-19 can spread from person to person when a

     person with COVID-19 contaminates objects and surfaces, and other people touch these

     objects or surfaces and then touch their eyes, nose or mouth.




                                                   4

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            26.      The CDC states that COVID-19 may remain viable for hours to days on

     surfaces and recommends the routine cleaning of all frequently touched surfaces and

     disinfection-level deep cleaning of surfaces thought to be contaminated.

            27.      The infectious particles of COVID-19 are invisible to the naked eye and it

     is not feasible to test every surface to determine if it has been contaminated. A surface that

     is touched by a person infected with COVID-19 is presumed to be contaminated.

            28.      Accordingly, the presence or danger of COVID-19 on property renders that

     property unusable and non-functioning until such time as the property is sanitized.

            29.      After a room is occupied by a person with confirmed or suspected COVID-

     19, the CDC, in addition to ensuring sufficient time for enough air changes to remove

     potentially infectious particles, recommends cleaning and disinfecting environmental

     surfaces and shared equipment before a room is used by another person otherwise there is

     significant risk of re-contamination.

            30.      Property owned by Plaintiff or others is capable of being contaminated by

     direct physical contact by an infected person(s) either knowingly or unwittingly. The

     property owner would be temporarily unable to use such property even though structurally

     unaltered until such property is sanitized.

            31.      Plaintiff’s customers come from all over the world and Plaintiff has no

     reliable way of knowing whether any of its customers were infected by COVID-19.

            32.      Plaintiff will incur extra expenses for cleaning and sanitizing its equipment

     and property.

            33.      Pursuant to the Policy, Defendant insured Plaintiff for business income

     losses and extra expenses.




                                                   5

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                34.    Plaintiff suffered a loss of business income and extra expenses as a direct

      result of the pandemic, acts of civil authority and other causes beyond its control.

                35.    Plaintiff submitted a claim to Defendant under the Policy.

                36.    On March 30, 2020, Defendant denied Plaintiff’s claim.

                37.    Defendant’s wrongful denial of coverage breached the Policy.

                38.    Subject to limitations and exclusions, the Policy insured against all risks of

      direct physical loss or damage to Plaintiff’s property.

                39.    A pandemic is a type of risk not excluded under the Policy.

                40.    Defendant’s failure to fairly adjust the claim, investigate the loss and cover

      undisputed damage constitutes bad faith.

                                             Causes of Action

                                           COUNT I
                                    DECLARATORY JUDGMENT

                41.    Plaintiff adopts and realleges paragraphs 1 through 40, as fully alleged

      herein.

                42.    Florida Statute §86.021 creates a right to declaratory judgment when a

      question of construction or validity arises under a contract.

                43.    The purpose of a declaratory judgment is to afford relief for a person's

      insecurity and uncertainty with respect to their rights, status, or other equitable or legal

      relations.

                44.    There is a bona fide, actual, present need for a declaratory judgment to

      determine this matter.

                45.    Plaintiff asks the Court to affirm that a pandemic is a covered cause of loss

      not subject to any exclusion under the Policy.



                                                     6

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             46.        Plaintiff asks the Court to affirm that contamination from COVID-19

      constitutes a direct physical loss or damage to property.

             47.        Plaintiff asks the Court to affirm that the inability to use property because

      of the risk of contamination from COVID-19 is tantamount to direct physical loss of that

      property.

             48.        Plaintiff asks the Court to affirm that acts of Civil Authority are tantamount

      to a direct physical loss or damage to property.


                                          COUNT II
                               BREACH OF INSURANCE CONTRACT

             49.        Plaintiff incorporates by reference paragraphs 1-40 above, as if alleged in

      this Count.

             50.        Plaintiff and Defendant entered into a valid and enforceable insurance

      contract.

             51.        Plaintiff gave valuable consideration in the form of premium payments in

      exchange for the promise of insurance coverage in the event of a loss of business income.

             52.        Plaintiff made a claim for loss of business income arising from the

      pandemic, interruption by civil authority and prohibited ingress to Plaintiff’s business.

             53.        Defendant breached the insurance contract by denying coverage for

      Plaintiff’s loss, which was due to a covered peril not subject to any exclusion.

             54.        Plaintiff complied with its obligations under the insurance contract.

             55.        Plaintiff has been injured and suffered financial harm as a result of

      Defendant’s breach of the insurance contract.




                                                      7

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                               COUNT III
       STATUTORY BAD FAITH CLAIM PURSUANT TO FLA. STAT. SEC. 624.155

                56.    Plaintiff adopts and realleges paragraphs 1 through 40, as fully alleged

      herein.

                57.    Pursuant to Fla. Stat. Sec. 624.155, the Plaintiff has a statutory cause of

      action for bad faith due to the Defendant's general business practice of willful, wanton,

      immoral, unlawful, malicious and/or deceptive claims handling practices (misconduct

      collectively referred to as "Bad Faith").

                58.    The exhaustively stated basis for which this action is predicated is set forth

      in the civil remedies notice (CRN) which is attached hereto, incorporated by reference, and

      identified as Exhibit "B". Including its subparts, the CRN comports with the condition

      precedent set forth under Fla. Stat. Sec. 624.155(3).

                59.    The CRN was duly filed with the Florida Department of Financial Services

      and was served upon Defendant via electronic mail to the Property Claim Supervisor on

      April 5, 2020.

                60.    Per governing law this action is subject to abatement until such time as the

      sixty (60) day notice requirement for the CRN expires and liability is adjudicated and/or

      confessed in the Plaintiffs favor as it relates to the claim(s) for relief per Count I of this

      Complaint.

                61.    However, and for the reasons stated in the CRN, Plaintiff is entitled to

      punitive damages, attorneys' fees, extra-contractual damages, and costs once the referenced

      conditions have been qualified and the abatement has been lifted. Allstate Ins. Co., v.

      Lovell, 530 So. 2d 1106 (Fla. 3d DCA 1988); Schimmel v. Aetna Casualty & Sur. Co., 506

      2d. 1162 (Fla. 3d DCA 1987).



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                                           Prayer for Relief

             WHEREFORE, Plaintiff respectfully requests that this Court grant Declaratory

      Judgment for the Plaintiff, declaring that:

             A.        A pandemic is a covered cause of loss not subject to any exclusion under

      the Policy.

             B.        Contamination from COVID-19 constitutes a direct physical loss or damage

      to property.

             C.        The inability to use property because of the risk of contamination from

      COVID-19 is tantamount to direct physical loss of that property.

             D.        Acts of Civil Authority are tantamount to a direct physical loss or damage

      to property.

             WHEREFORE, Plaintiff requests that after a trial on the merits, the Court award

      it:

             A. A judgment declaring Defendant in breach of the insurance contract for denying

                    their claim;

             B. A judgment awarding Plaintiff compensatory damages for Defendant’s denial

                    of the claim;

             C. A judgment awarding Plaintiff attorney’s fees pursuant to Fla. Stat. § 627.428;

             D. A judgment awarding Plaintiff pre-judgment interest pursuant to Fla. Stat. §

                    627.70131.

             E. A judgment awarding Plaintiff post-judgment interest; and

             F. Such other relief that that Court deems proper.




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                                                Jury Demand

                 Plaintiff demands a jury trial on all issues to which they are so entitled.

      Respectfully submitted this 6th day of April 2020.

       /s/ Matthew D. Landau                         /s/Thayer A. Musa
       Matthew D. Landau                             Thayer A. Musa, Esq.
       Fla. Bar. No. 445967                          Fla. Bar. No. 0562211
       Eric M. Fischer                               LAW OFFICES OF THAYER A. MUSA
       Fla. Bar. No. 962422                          9008 SW 152 ST.
       Paul Kunz                                     Miami, FL 32157
       Fla. Bar. No. 159492                          Office: 305-233-6872
       THE LANDAU LAW GROUP, P.A.                    Fax: 305-235-6872
       1200 North Federal Highway, Ste. 200          thayer@musalaw.com
       Boca Raton, FL 33432
       Phone: (954) 964-0900
       matt@thelandaulawgroup.com
      Co-counsel for Plaintiff




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                                          EXHIBIT “A”

                                   [see attached Denial Letter]




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PO Box 950, Bala Cynwyd, PA 19004                                                 Lisa McManus
Phone: 800.765.9749                                                               Property Claims Supervisor
Fax: 800.685.9238                                                                 Direct Dial: 916-724-2510
www.phly.com                                                                      Email: lisa.mcmanus@phly.com

       March 30, 2020


       Mace Marine, Inc.
       Dba: Conch Republic Divers
       90800 Overseas Highway #9
       Tavernier, FL 33070


       Attention: Brenda Mace


       RE:                Insured:                    PADI Worldwide Corp. – Mace Marine, Inc.
                          Location of Loss:           90800 Overseas Highway #9 Tavernier, FL
                          Nature of Loss:             Business Income Loss
                          Reported Date of Discovery: 3/21/2020
                          Policy Number:              PPK1992912
                          Claim Number:               1358908

        Dear Ms. Mace,

       The purpose of this letter is to advise that we have completed our investigation into the above
       captioned claim and unfortunately, The Philadelphia Indemnity Insurance Company will not be able to
       be of assistance to you regarding this matter.

       The Philadelphia Indemnity Insurance Company issued a commercial package policy to PADI Worldwide
       Corporation under policy number PPK1992912 with effective dates of June 30, 2019 through June 30,
       2020. Please reference the above mentioned claim number on any future correspondence to
       Philadelphia Indemnity Insurance Company.

       On March 26, 2020 we received notice from your agent indicating you had to shut down your business
       due to a Government ordered shutdown as a result of the Coronavirus which has caused a business
       income loss.

       With notice that you sustained a loss, we assigned your loss to examiner Krystal Enbysk who contacted
       you by phone on March 30, 2020. You confirmed there was no physical damage to your property and
       that your business was being closed to avoid the spread of the virus.



                     Philadelphia Indemnity Insurance Company ▪ Maguire Insurance Agency, Inc ▪
                                      Tokio Marine Specialty Insurance Company




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   Unfortunately, there is no coverage for your business income loss. In order for the business income
   coverage to be triggered, there must either be direct physical damage to the covered property caused
   by a Covered Caused of Loss, or there must be a Civil Authority preventing access to your property due
   to a Covered Cause of Loss off the described premises.

   Please refer to your PROPERTY COVERAGE FORM PI-MANU-1 (01/00) which reads in part:

                                            PROPERTY COVERAGE FORMS
   …
                            SECTION V - TIME ELEMENT COVERAGE GROSS EARNINGS
   This Policy is extended to cover the actual loss sustained by the Insured during the Period of
   Interruption directly resulting from a Covered Cause of Loss to Insured Property.

    A. ACTUAL LOSS SUSTAINED: In the event the Insured is prevented from producing goods or
        from continuing its business operations or services and is unable:

        1. To make up lost production within a reasonable period of time (not to be limited to
             the period during which production is interrupted), or
        2.    To continue business operations or services,


   all through the use of any property or service owned or controlled by the Insured, or
   obtainable from other sources, whether the property or service is at an Insured location or
   through working extra time or overtime at any other substitute location(s), including any other
   location(s) acquired for the purpose, then the Company shall be liable, subject to all other
   conditions of this Policy not inconsistent herewith for the actual loss sustained of the following
   during the Period of Interruption:

       1. GROSS EARNINGS less all charges and expenses which do not necessarily continue
             during the interruption of production or suspension of business operations or services.
             For the purpose of this coverage, GROSS EARNINGS means:

             a. For manufacturing operations: The net sales value of production less the cost of
                  all raw stock, materials and supplies utilized in such production; or

             b. For mercantile or non-manufacturing operations: The total net sales less cost
                  of merchandise sold, materials and supplies consumed in the operations or
                  services rendered by the Insured;


             c.   Plus all other earnings derived from the operation of the business.

    In determining net sales, in the event of loss hereunder, for mercantile or non-
    manufacturing operations, any amount recovered under Property Damage policies for loss


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    or damage to or destruction of merchandise shall be included as though the merchandise
    had been sold to the Insured's regular customers.

   In determining the amount of loss payable under this coverage, due
   consideration shall be given to the experience of the business before the Period of Interruption
   and the probable experience thereafter had no loss occurred, and to the continuation of only
   those normal charges and expenses that would have existed had no interruption of production
   or suspension of business operations or services occurred.

   There is no coverage for any portion of the Insured's Ordinary
   Payroll expense unless a specified number of days for Ordinary Payroll is shown in Section
   I.E.22. In such case, the Company will pay Ordinary Payroll for that number of days only.
   Ordinary Payroll means the entire payroll expense for all employees of the Insured except
   officers, executives, department managers, employees under contract, and other essential
   employees.

2. EXPENSE TO REDUCE LOSS: Expenses, over and above normal operating expenses, necessarily
   incurred by the Insured in making up lost production or in reducing loss otherwise payable
   under this coverage are covered hereunder, but in no event shall this Company be liable for an
   amount greater than that for which it would have been liable had the Insured been unable to
   make up any lost production or to continue any business operations or services.


   B. PERIOD OF INTERRUPTION: In determining the amount payable under this coverage, the Period of
   Interruption shall be:

    1.         The period from the time of direct physical loss or damage insured against by this
          Policy to the time when, with the exercise of due diligence and dispatch, either:

                  a. normal operations resume, or

                  b. physically damaged buildings and equipment could be repaired or replaced
                      and made ready for operations under the same or equivalent physical and
                      operating conditions that existed prior to such loss or damage,

         whichever is less. Such period of time shall not be cut short by the expiration or earlier
         termination date of the Policy.
         …

    C.       ADDITIONAL TIME ELEMENT COVERAGES

             1. EXTRA EXPENSE:    This Policy is extended to cover the loss sustained by the Insured
                for Extra Expense during the Period of Interruption resulting from direct physical loss

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             or damage from a Covered Cause of Loss to Insured Property utilized by the Insured.
             Extra Expense
    …
6. INTERRUPTION BY CIVIL OR MILITARY AUTHORITY: This Policy is extended
    to cover the actual loss sustained during the period of time when access to the Insured's real or
   personal property is prohibited by an order of civil or military authority, provided that such
   order is a direct result of a Covered Cause of Loss to real property not insured hereunder. Such
   period of time begins with the effective date of the order of civil or military authority and ends
   when the order expires, but no later than the number of days shown in Section I., Subparagraph
   E.6. In no event shall the Company pay more than the Sublimit shown in Section I.,
   Subparagraph E.6.


7. INGRESS & EGRESS: This Policy is extended to cover the actual loss
    sustained during the period of time when ingress to or egress from the Insured's real or
   personal property is prohibited as a direct result of a Covered Cause of Loss to real property
   not insured hereunder. Such period of time begins on the date that ingress to or egress from
   real or personal property is prohibited and ends when ingress or egress is no longer prohibited,
   but no later than the number of days shown in Section I., Subparagraph E.17. In no event shall
   the Company pay more than the Sublimit shown in Section I., Subparagraph E.17.

   …
                                           SECTION VII – CONDITIONS
   …
            T. SUIT AGAINST COMPANY: No suit, action or proceeding for the recovery of any claim under
   this Policy shall be sustainable in any court of law or equity unless the Insured shall have fully complied
   with all the requirements of this Policy, nor unless the same be commenced within twenty four (24)
   months next after the date of the loss, provided however, that if under the laws of the jurisdiction in
   which the property is located such time limitation is invalid, then any such claims shall be void unless
   such action, suit or proceedings is commenced within the shortest limit of time permitted by laws of
   such jurisdiction.

   Please promptly advise if you believe we have misconstrued any of the facts or circumstances, or if you
   are aware of any additional facts or circumstances relating to this matter that may impact our position
   herein. Further, in the event legal papers or proceedings are filed or amended, please be sure to forward
   same to us so that we may reevaluate.

   Nothing in this letter should be construed to waive our rights under the policy(ies) or the law. On the
   contrary, to the greatest extent permitted by law, all such rights are expressly reserved, including the
   right to disclaim coverage on additional grounds not set forth in this letter. This coverage analysis is not
   intended to be exhaustive or exclusive. By mentioning specific grounds that may limit or preclude
   coverage, Philadelphia Indemnity Insurance Company does not intend to waive any other grounds which
   may currently exist or exist in the future. We specifically reserve all rights whether arising under the


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   policy(ies), applicable law and / or in equity, including without limitation, the right to supplement this
   coverage analysis as circumstances warrant.

   Having carefully reviewed this matter to conclude that coverage does not apply, we trust your
   understanding is clear. However, should you disagree with our no coverage position, we request that
   you notify us in writing of that disagreement along with the reasonable basis for your disagreement, so
   that we may give this matter prompt reconsideration.

   Additionally, should you have any questions concerning this matter you may contact your Claim
   Examiner, Krystal Enbysk directly at 916-724-2538.

   Sincerely,




   Lisa McManus
   Property Claim Supervisor

   CC: Hub International Insurance
       6 Centerpointe Dr #350
       La Palma, CA 9062




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                                          EXHIBIT “B”

                               [see attached Civil Remedy Notice]




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